                                        Case 4:20-cv-05146-YGR            Document 703      Filed 06/14/22       Page 1 of 2




                                   1

                                   2

                                   3                                   UNITED STATES DISTRICT COURT

                                   4                                  NORTHERN DISTRICT OF CALIFORNIA

                                   5

                                   6      PATRICK CALHOUN, et al.,                          Case No. 20-cv-05146-YGR (SVK)
                                   7                    Plaintiffs,
                                                                                            FURTHER ORDER RE DISCOVERY
                                   8             v.                                         DISPUTE RE RULE 30(B)(6)
                                                                                            DEPOSITION
                                   9      GOOGLE LLC,
                                                                                            Re: Dkt. No. 702
                                  10                    Defendant.

                                  11          The Court is in receipt of Plaintiffs’ errata submitting the correct Exhibit B in response to
                                  12   this Court’s prior order on this subject. Dkt. 700; 701-2. Because the Court is, upon further
Northern District of California
 United States District Court




                                  13   consideration, of the view that the erroneous Exhibit B was obviously incorrect on its face, the

                                  14   Court will consider the errata.

                                  15          Topic 1(a) of the 30(b)(6) notice is directed to relevant information in proportion to the

                                  16   needs of the case, provided that the information is calculated or tracked by Google in the ordinary

                                  17   course of business. The five questions in dispute are within scope of the notice. Dkt. 701-2.

                                  18   Notwithstanding Plaintiffs’ clarification regarding the disputed questions, however, the request for

                                  19   relief (“Google be compelled to provide written responses to the items identified in advance (see

                                  20   Ex. B), including supporting documentation, calculations and data where appropriate”) remains

                                  21   overbroad as to “documentation, calculations and data.” Plaintiffs do not seek a further

                                  22   deposition.

                                  23          Accordingly, The Court ORDERS as follows:

                                  24          Not later than June 20, 2022, Google is to provide a table, with a row for each of the

                                  25   disputed questions and a column for each year 2016-present, setting forth the responsive

                                  26   ////

                                  27   ////

                                  28   ////
                                       Case 4:20-cv-05146-YGR           Document 703         Filed 06/14/22     Page 2 of 2




                                   1   information that Google calculates or tracks in the ordinary course of business. If the information

                                   2   is not maintained in the ordinary course of business, Google is to expressly so state.

                                   3          SO ORDERED.

                                   4   Dated: June 14, 2022

                                   5

                                   6
                                                                                                    SUSAN VAN KEULEN
                                   7                                                                United States Magistrate Judge
                                   8

                                   9

                                  10

                                  11

                                  12
Northern District of California
 United States District Court




                                  13

                                  14

                                  15

                                  16

                                  17

                                  18
                                  19

                                  20

                                  21

                                  22

                                  23

                                  24

                                  25

                                  26
                                  27

                                  28
                                                                                         2
